Case 1:24-cv-23015-SC Document 5 Entered on FLSD Docket 08/15/2024 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                                CASE NO. 24-CV-23015-RAR

 MACK WELLS, et al.,

        Plaintiffs,

 v.

 U.S. BANK N.A., et al.,

       Defendants.
 ___________________________________________/

                                    ORDER OF RECUSAL

        The undersigned Judge, to whom this case was assigned, hereby recuses himself and refers

 this matter to the Clerk of Court for permanent reassignment in accordance with 28 U.S.C. § 455.

        DONE AND ORDERED in Miami, Florida, this 13th day of August, 2024.




                                                    __________________________________
                                                    RODOLFO A. RUIZ II
                                                    UNITED STATES DISTRICT JUDGE
Case 1:24-cv-23015-SC Document 5 Entered on FLSD Docket 08/15/2024 Page 2 of 2




        In accordance with the Local Rules for the Southern District of Florida, providing for

 the random and equal allotment of cases, this cause is hereby reassigned to the calendar of United

                        Kathleen M. Williams
 States District Judge _____________________________________________________.

        Copies of this Order shall be served on all pending parties of record electronically via

 CM/ECF, or via U.S. Mail to any party not authorized to receive electronically notices of filing.

 All documents for filing in this case shall carry the following case number and designation:
       24-cv-23015-Williams/Goodman
 ______________________________________________________________________________
                                     15th
        BY ORDER of the Court this _________ day of August, 2024.



                                                     ANGELA E. NOBLE
                                                     Clerk of Court


                                                     By:

                                                       Valerie Kemp
                                                     ___________________________________

 copies provided to:
 counsel of record
 Clerk of Court




                                            Page 2 of 2
